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                                           1   LARSON & ZIRZOW, LLC
                                               ZACHARIAH LARSON, ESQ.
                                           2   Nevada Bar No. 7787
                                               E-mail: zlarson@lzlawnv.com
                                           3
                                               MATTHEW C. ZIRZOW, ESQ.
                                           4   Nevada Bar No. 7222
                                               E-mail: mzirzow@lzlawnv.com
                                           5   850 E. Bonneville Ave.
                                               Las Vegas, Nevada 89101
                                           6   Tel: (702) 382-1170
                                           7   Fax: (702) 382-1169
                                               Attorneys for Debtor
                                           8
                                                                        UNITED STATES BANKRUPTCY COURT
                                           9
                                                                               DISTRICT OF NEVADA
                                          10
                                               In re:                                            Case No. 21-10690-nmc
                                          11                                                     Chapter 11
                                               GATA III, LLC,
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                          13                           Debtor.                   Date: August 10, 2021
                                                                                                 Time: 9:30 a.m.
       LARSON & ZIRZOW, LLC

        Las Vegas, Nevada 89101
          850 E. Bonneville Ave.




                                          14
                                                                                 CERTIFICATE OF SERVICE
                                          15
                                                        1.     On July 29, 2021, I served the following document:
                                          16
                                                               a.   Debtor’s Reply to Response to Objection to Proofs of          ECF No. 69
                                          17                        Claim of Charles Howard, Trustee of the Howard Family
                                          18                        Trust dated March 7, 1997, Claim Nos. 5 and 12
                                                        2.     I served the above-named document by the following means to the persons as
                                          19
                                               listed below:
                                          20

                                          21                   a.     ECF System:

                                          22            TERRI H DIDION on behalf of U.S. Trustee U.S. TRUSTEE - LV - 11
                                                        TERRI.DIDION@USDOJ.GOV
                                          23

                                          24            H STAN JOHNSON on behalf of Creditor BUSINESS SUPPORT TEAM, LLC
                                                        sjohnson@cohenjohnson.com, calendar@cohenjohnson.com;
                                          25            rjohnson@cohenjohnson.com;sgondek@cohenjohnson.com

                                          26            H STAN JOHNSON on behalf of Creditor CHARLES HOWARD, TRUSTEE OF THE
                                                        HOWARD FAMILY TRUST
                                          27            sjohnson@cohenjohnson.com, calendar@cohenjohnson.com;
                                          28            rjohnson@cohenjohnson.com;sgondek@cohenjohnson.com
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                                                     H STAN JOHNSON on behalf of Creditor FIRST SAVINGS BANK CUSTODIAN
                                           1         FOR JOHN R. BLACKMON IRS
                                           2
                                                     sjohnson@cohenjohnson.com, calendar@cohenjohnson.com;
                                           2
                                           3         rjohnson@cohenjohnson.com;sgondek@cohenjohnson.com
                                           3
                                           4         H STAN JOHNSON on behalf of Creditor SHEELA MURTHY, TRUSTEE OF THE
                                           4         SHEELA MURTHY REVOCABLE LIVING TRUST
                                           5         sjohnson@cohenjohnson.com, calendar@cohenjohnson.com;
                                           5         rjohnson@cohenjohnson.com;sgondek@cohenjohnson.com
                                           6
                                           6
                                           7         H STAN JOHNSON on behalf of Creditor STARLIGHT FUNDING LLC
                                           7         sjohnson@cohenjohnson.com, calendar@cohenjohnson.com;
                                           8         rjohnson@cohenjohnson.com;sgondek@cohenjohnson.com
                                           8
                                           9         H STAN JOHNSON on behalf of Creditor JOHN ROBERTS EVANS
                                           9         sjohnson@cohenjohnson.com, calendar@cohenjohnson.com;
                                          10
                                                     rjohnson@cohenjohnson.com;sgondek@cohenjohnson.com
                                          10
                                          11
                                          11         H STAN JOHNSON on behalf of Creditor KELLI ANN EVANS
                                          12         sjohnson@cohenjohnson.com, calendar@cohenjohnson.com;
Tel: (702) 382-1170 Fax: (702) 382-1169




                                          12         rjohnson@cohenjohnson.com;sgondek@cohenjohnson.com
                                          13
       LARSON & ZIRZOW, LLC




                                          13         H STAN JOHNSON on behalf of Creditor LETICIA LOPEZ
        Las Vegas, Nevada 89101




                                          14
          850 E. Bonneville Ave.




                                          14         sjohnson@cohenjohnson.com, calendar@cohenjohnson.com;
                                          15         rjohnson@cohenjohnson.com;sgondek@cohenjohnson.com
                                          15
                                          16         H STAN JOHNSON on behalf of Creditor RICK STEVEN
                                          16         sjohnson@cohenjohnson.com, calendar@cohenjohnson.com;
                                          17
                                                     rjohnson@cohenjohnson.com;sgondek@cohenjohnson.com
                                          17
                                          18
                                          18         MATTHEW T. KNEELAND on behalf of Creditor BLACK MOUNTAIN POINT
                                          19         ASSOCIATION
                                          19         matthew@sylvesterpolednak.com, bridget@sylvesterpolednak.com
                                          20
                                          20         BRIAN D. SHAPIRO
                                          21
                                                     brian@trusteeshapiro.com, nv22@ecfcbis.com;
                                          21         kristin@trusteeshapiro.com;connie@brianshapirolaw.com
                                          22
                                          22
                                          23         JEFFREY R. SYLVESTER on behalf of Creditor BLACK MOUNTAIN POINT
                                          23         ASSOCIATION
                                          24         jeff@sylvesterpolednak.com,
                                          24         bridget@sylvesterpolednak.com;kellye@sylvesterpolednak.com
                                          25
                                          25
                                          26         U.S. TRUSTEE - LV - 11
                                          26         USTPRegion17.lv.ecf@usdoj.gov
                                          27
                                          27   ...
                                          28
                                          28   ...


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                                           1                 b.      United States mail, postage fully prepaid:
                                           2
                                           2
                                           3                 To the parties on the attached mailing matrix.
                                           3
                                           4                 c.      Personal Service:
                                           4
                                           5         I personally delivered the document(s) to the persons at these addresses:
                                           5
                                           6
                                                                   For a party represented by an attorney, delivery was made by handing the
                                           6                       document(s) at the attorney’s office with a clerk or other person in charge, or if no
                                           7
                                                                   one is in charge by leaving the document(s) in a conspicuous place in the office.
                                           7
                                           8                       For a party, delivery was made by handling the document(s) to the party or by
                                           8                       leaving the document(s) at the person’s dwelling house or usual place of abode
                                           9                       with someone of suitable age and discretion residing there.
                                           9
                                          10                 d.      By direct email (as opposed to through the ECF System):
                                          10                  Based upon the written agreement of the parties to accept service by email or a court
                                          11         order, I caused the document(s) to be sent to the persons at the email addresses listed below. I
                                          11         did not receive, within a reasonable time after the transmission, any electronic message or other
                                          12
                                                     indication that the transmission was unsuccessful.
Tel: (702) 382-1170 Fax: (702) 382-1169




                                          12
                                          13
                                                             e.      By fax transmission:
       LARSON & ZIRZOW, LLC




                                          13
        Las Vegas, Nevada 89101




                                          14                  Based upon the written agreement of the parties to accept service by fax transmission or
          850 E. Bonneville Ave.




                                          14        a court order, I faxed the document(s) to the persons at the fax numbers listed below. No error
                                          15        was reported by the fax machine that I used. A copy of the record of the fax transmission is
                                          15        attached.
                                          16
                                          16                 f.      By messenger:
                                          17                 I served the document(s) by placing them in an envelope or package addressed to
                                          17         the persons at the addresses listed below and providing them to a messenger for service.
                                          18
                                          18         I declare under penalty of perjury that the foregoing is true and correct.
                                          19
                                          19
                                          20         Dated: July 30, 2021.
                                          20
                                          21     Trish Huelsman                                         /s/ Trish Huelsman
                                          21     (Name of Declarant)                                  (Signature of Declarant)
                                          22
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                                          23
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